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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


  MSM DESIGN AND ENGINEERING LLC,

         Plaintiff,                                          Case No.: 1:20-cv-00121

  v.                                                         Judge John F. Kness

  THE PARTNERSHIPS AND UNINCORPORATED                        Magistrate Judge Sidney I. Schenkier
  ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

         Defendants.

                                  NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

              NO.                               DEFENDANT
              179                              dianshun Sneakers
               22                                   bolong


DATED: July 6, 2020                                 Respectfully submitted,

                                                    /s/ Keith A. Vogt
                                                    Keith A. Vogt (Bar No. 6207971)
                                                    Keith Vogt, Ltd.
                                                    111 West Jackson Boulevard, Suite 1700
                                                    Chicago, Illinois 60604
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                                                    E-mail: keith@vogtip.com

                                                    ATTORNEY FOR PLAINTIFF
    Case: 1:20-cv-00121 Document #: 97 Filed: 07/06/20 Page 2 of 2 PageID #:4017




                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on July 6, 2020 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt
